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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   IN RE: ALLERGAN BIOCELL                            Case No.: 2:19-md-02921 (BRM)(LDW)
   TEXTURED BREAST IMPLANT                            MDL NO. 2921
   PRODUCTS LIABILITY LITIGATION
                                                      JUDGE BRIAN R. MARTINOTTI
                                                      MAGISTRATE JUDGE LEDA D. WETTRE
                                                      SPECIAL MASTER JOSEPH A. DICKSON



  THIS DOCUMENT RELATES TO:
  ALL CASES

                          DECLARATION OF MELISSA A. GEIST, ESQ.

            Pursuant to 28 U.S.C. § 1746, I, Melissa A. Geist, Esq., declare as follows:

            1.     I am an attorney licensed to practice in the State of New Jersey and a partner of the

  law firm Reed Smith LLP, counsel for Defendants Allergan, Inc. and Allergan USA, Inc. (together,

  “Allergan”) in the above-captioned matter. As such, I am fully familiar with the facts set forth

  herein.

            2.     I submit this declaration based on personal knowledge and in support of Allergan’s

  Surreply to Plaintiffs’ Motion to Quash or for a Protective Order.

            3.     Attached hereto as Exhibit A is a true and correct copy of four redacted Universal

  Funds Purchase and Assignment Agreements executed by plaintiffs in connection with this

  litigation.

            4.     Attached hereto as Exhibit B is a true and correct copy of Universal Funds’ website

  homepage.




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         5.     Attached hereto as Exhibit C is a true and correct copy of Universal Funds’ website

  “About Us” page.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

  January 10, 2025.



                                              /s/ Melissa A. Geist, Esq.
                                              Melissa A. Geist, Esq.




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